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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA OF
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      CASE NO. 2:13-cr-33-MEF
                                             )
CLARENCE E. SMITH                            )

                                      ORDER

         On December 18, 2013, the Magistrate Judge filed a Recommendation (Doc. #86) in

this case to which no timely objections have been filed. Upon an independent review of the

file in this case and upon consideration of the Recommendation of the Magistrate Judge, it

is the

         ORDER, JUDGMENT and DECREE of the court that:

         1. The Recommendation of the Magistrate Judge is ADOPTED.

         2. The defendant's Motion to Suppress (Doc. #62) is DENIED.

         DONE this the 13th day of January, 2014.



                                                  /s/ Mark E. Fuller
                                          UNITED STATES DISTRICT JUDGE
